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Maria Achenbach
1 Williamsburg Dr.
Jonestown PA 17038

August 5th, 2021

RE: Mr. Samuel Lazar

To The Honorable Judge,

      My name is Maria Achenbach. I am a good friend of Samuel Lazar.
I have known Sam for almost two years now. I am writing this letter to
reassure that the negative light that has been illuminated on Sam could
not be further from the truth and making him out to be quite opposite of
how Sam is being portrayed.

       Sam Lazar is nothing but a respectable, caring, passionate, self-
giving, honorable man. Sam has brought his life to a place that one could
only admire. He is so driven to make himself better in every aspect of
life, whether that is his business, relationships, and his faith in Jesus.
Attending church regularly he’s a Godly man that holds values very high.
Sam is such a motivator he never wants to see anyone fail. You could not
ask for a better supporter in your corner.

      Sam is an asset to his community and everyone around him. His
two children always come first as well as there future that he has work
so hard to set up success for them. Sam is always attending family
functions and puts his family first. His family needs him right now more
then ever. Sam would never be a threat to society but again nothing
more then an asset to all. Thank you for your time!

Respectfully,
Maria Achenbach
